                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                               CASE NO. 5:22-cv-00044-M

 AMY LOHRENZ, MAJOR MICHAEL
 LOHRENZ, MGL, MML, MML, & MML,
         Plaintiffs,                                        REPLY MEMORANDUM IN
                                                        SUPPORT OF PLAINTIFFS’ MOTION
         v.                                                  FOR LEAVE TO AMEND

 BRAGG COMMUNITIES, LLC,
 CORVIAS MANAGEMENT-ARMY,
 LLC, CORVIAS MILITARY LIVING,
 LLC, and HEATHER FULLER,

                Defendants.



       Plaintiffs, through counsel, respectfully submit this reply in support of their motion for

leave to amend the First Amended Complaint (Doc 18) and respectfully reply to new matters raised

in the response brief (Doc 47) filed by Defendants.

       Under Fed. R. Civ. P. 15(a), leave to amend a pleading “shall be freely given when justice

so requires.” The Supreme Court has emphasized that “this mandate is to be heeded.” Forman v.

Davis, 371 U.S. 178, 182 (1962). Forman sets forth the general standard to be employed by federal

courts in making a Rule 15(a) determination:



       If the underlying facts or circumstances relied upon by a plaintiff may be a proper

       subject of relief, he ought to be afforded an opportunity to test his claim on the merits.

       In the absence of any apparent or declared reason such as undue delay, bad faith or

       dilatory motive on the part of the movant, repeated failure to cure deficiencies by

       amendments previously allowed, undue prejudice to the opposing party by virtue of


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       allowance of the amendment, futility of amendment, etc. the leave sought should, as

       the rules require, by “freely given.”



       The law is well settled that “leave to amend a pleading should be denied only when the

amendment would be prejudicial to the opposing party, there has been bad faith on the part of the

moving party, or the amendment would have been futile.” See Johnson v. Oroweat Foods Co., 785

F.2d 503, 509 (4th Cir. 1986). Delay alone is an insufficient reason to deny leave to amend. See

Id. Rather, the delay must be accompanied by prejudice, bad faith, or futility. See Id.

       First, Plaintiffs’ Motion for Leave is in good faith and is not futile. Defendants’ first filing

in this matter was a Notice of Removal on January 26, 2022. Plaintiffs’ Motion for Leave to File

a Second Amended Complaint was filed in compliance with the original Scheduling Order on June

24, 2022, merely five months from the Defendants’ first filing in this matter. Undue delay has been

found where Plaintiff has waited over one year or more to seek leave to file amended pleadings.

See EEOC v. Peters' Bakery, No. 13-cv-04507-BLF, 2016 2016 LEXIS 45519, at 8-9 (N.D.C.A.

April 4, 2016) (where the court denied amendment of the pleadings when Plaintiff filed more than

one year past the deadline and two weeks before the deadline for dispositive motions). When the

defendant was “from the outset made fully aware of the events giving rise to the action, an

allowance of the amendment could not in any way prejudice the preparation of the defendant’s

case.” Davis v. Piper Aircraft Corp., 615 F.2d 606, 613 (4th Cir. 1980). See also Laber v. Harvey,

438 F.3d 404, 428 (4th Cir. 2006). Here, Defendants were made aware of the events giving rise to

the action in the Original Complaint and the First Amended Complaint (“FAC”). As stated in

Defendants’ response, Plaintiffs “immediately” provided Defendants notice of the circumstances




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surrounding these claims “shortly” after taking possession of the contaminated real property in this

matter in March of 2018 (FAC ¶ 18-19).

       In Laber, the district court denied Plaintiff’s motion to amend his complaint. The

amended complaint sought to add a claim of religious discrimination against Defendants. On

appeal, Plaintiff argued that the district court abused its discretion by denying his motion and that

justice required that he be given the opportunity to amend his complaint to put Defendants

underlying religious discrimination at issue. In reversing the lower court ruling, the Court found

that there was no indication that Plaintiff’s omission from his original complaint of the legal

theory he then sought to pursue was in bad faith. Additionally, the Court found that Defendants

would not have been prejudiced by the proposed amendment because no significant discovery

had yet been conducted and that the proposed complaint did not put any new facts at issue but

merely states an “alternative theory” for recovery. Siding with Plaintiff, the Court held that

because Plaintiff did not act in bad faith, the proposed amendment would not prejudice

Defendants, and that the amendment was not futile, the district court abused its discretion in

denying Plaintiff’s motion to amend.

       In Piper, the district court denied Plaintiff’s motion to amend his complaint after the

district court found that (1) Plaintiff, on two separate occasions, failed to assert his claim against

Defendant in prior state court actions, and (2) that Plaintiff delayed four months after learning of

the defect in his complaint before he moved to amend. On appeal, the Court held that the district

court abused its discretion in denying Plaintiff’s motion to amend and reversed the lower court’s

ruling. First, the Court found that from the outset, Defendant was made fully aware of the events

giving rise to the action. As such, an allowance of the amendment could not in any way prejudice

the preparation of Defendant’s case. Piper, 615 F.2d at 613. Second, the Court found that the



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delay of four months did not prejudice Defendants because “[d]elay alone, without any

specifically resulting prejudice, or any obvious design by dilatoriness to harass the opponent,

should not suffice as a reason for denial.” Id.

       Like the Plaintiffs in Laber and Piper, the Plaintiffs in Lohrenz seek amend their complaint

by adding what is essentially an “alternative theory” for recovery without asserting any new facts

at issue. Like in Laber, no significant discovery has yet been conducted and no new facts are being

asserted. As such, Plaintiffs “ought to be afforded an opportunity to test [their] claim on the merits

…. [t]he leave sought should, as the rules require, be ‘freely given.’ Forman, 371 U.S. at 182.

       As stated above, the court may deny a motion for leave to amend “when the

amendment would be prejudicial to the opposing party, there has been bad faith on the part

of the moving party, or the amendment would be futile.” Johnson v. Oroweat Foods Co., 785

F.2d 503, 509 (4th Cir. 1986). A proposed amendment is futile when it “is clearly insufficient

or frivolous on its face.” Id. at 510. “A proposed amendment is also futile if the claim it

presents would not survive a motion to dismiss.” Save Our Sound OBX, Inc. v. N.C. Dep't of

Transp., 914 F.3d 213, 228 (4th Cir. 2019). It is well settled that “[u]nless a proposed

amendment may clearly be seen to be futile because of substantive or procedural

considerations, conjecture about the merits of the litigation should not enter into the decision

whether to allow the amendment.” Davis v. Piper Aircraft, Corp., 615 F.2d 606, 613 (4th

Cir. 1980).

       In this case, Plaintiffs’ newly asserted claims and previously asserted claims are

sufficiently plead, non-frivolous, and would survive a motion to dismiss. Each claim is

addressed individually as follows:




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(i)      Private Nuisance: Plaintiffs’ private nuisance claim is adequately pled in the

         SAC. To prove private nuisance, plaintiffs must show substantial and

         unreasonable interference with the use and enjoyment of their property.

         Priselac v. Chemours Co., No. 7:20-cv-190-D, LEXIS 54845, at 13 (E.D.N.C

         March 28, 2022). “An interference is substantial when it results in significant

         annoyance, some material physical discomfort or injury to the plaintiffs health

         or property.” Id. “Unreasonableness is a question of fact judged by an objective

         standard that balances the relative benefit to defendant against the harm to

         plaintiff.” See Pendergrast v. Aiken, 236 S.E.2d 787, 797 (1977). Here, Plaintiffs

         specify in the SAC that the nuisance claim is asserted only against Defendant

         Bragg Communities (SAC page 22). Plaintiffs’ “material physical discomfort

         and injuries to their health and property” evidence substantial interference and

         harm to the Lohrenz family by Bragg Communities. (SAC ¶ 39-43). The

         unreasonable interference in the use and enjoyment of property is shown by

         the environmental testing showing the presence of mold and contaminants

         referenced throughout the SAC. Plaintiffs’ nuisance claim is not futile.

(ii)     Violation of NC RRAA; The RRAA creates a statutory duty to "[m]ake all repairs

         and do whatever is necessary to put and keep the premises in a fit and habitable

         condition." N.C. Gen. Stat. § 42-42(a)(2) (2021); Martin v. Kilauea Props., LLC,

         214 N.C. App. 185, 188, 715 S.E.2d 210, 212 (2011). “A breach of this duty is a

         breach of the implied warranty of habitability.” Id. In addition, "a violation of the

         duty to maintain the premises in a fit and habitable condition is evidence of

         negligence." Terry v Pub. Serv. Co. of NC., Inc., No. COA22-160, N.C.App.



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         LEXIS 946 at 19 (2022) (quoting Brooks, 57 N.C. App. at 559, 291 S.E.2d at 891)).

         Plaintiffs’ SAC references several inhabitable conditions including mold, leaks,

         flooding, infestation, impaired air quality, wet carpets and the failure by Defendants

         to repair or remediate those conditions despite continuous notice (SAC ¶ 14-17, 22-

         24). The shotty repairs are also referenced (SAC ¶ 16-17). These allegations

         adequately allege Defendants’ nonfulfillment of their obligations under the act and

         specifically plead the conditions of the premises. Plaintiffs have plausibly alleged

         violation of NC RRAA.

(i)      UDTPA: Plaintiffs’ UDTPA claim is timely filed. Pursuant to N.C. Gen. Stat. §

         75-16.2, the statute of limitations is four years after a cause of action accrues.

         “A UDTPA cause of action accrues when the violation occurs.” Withers v. BMW

         of N. Am., LLC, 560 F. Supp. 3d 1010, 1018-1019 (N.C.W.D Sep. 15, 2021)

         (quoting Ferro v. Volvo Penta of the Ams., 731 F. App'x 208, 211 (4th Cir.

         2018)). When a UDTPA claim is based on fraudulent conduct, the violation occurs

         "at the time that the fraud is discovered or should have been discovered with the

         exercise of reasonable diligence." Dreamstreet Invs., Inc. v. MidCountry Bank, 842

         F.3d 825, 830 (4th Cir. 2016). “The issue of due diligence is usually a question of

         fact for the jury, though failure to exercise due diligence may be a matter of law

         where there was clearly the capacity and opportunity to discover the mistake.” Mt.

         Land Props. v. Lovell, 46 F. Supp. 3d 609, 624 (W.D.N.C. 2014). In Whithers, the

         defendant argued the fraud should have been discovered at the latest in December

         2015 and the second amended complaint was filed in January 2020, the court found

         that the statute of limitations did not bar the plaintiff’s claim. Withers 560 F. Supp.



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               at 1018-1019. In Lohrenz, the accrual of the action will be a question of fact for the

               jury as to when the Defendants’ fraud was discovered or should have been

               discovered. At the earliest, Plaintiffs discovered in August 2019, when Defendants

               informed the Lohrenz family that they would be relocating for a second time due

               to uninhabitable conditions, that the contaminations were perpetual and extended

               beyond the original property. The proposed SAC was filed on June 22, 2022.

               Plaintiffs’ UDTPA claim is not futile.

       (ii)     Breach of Implied Covenant of Good faith and Fair Dealing and Breach of

               Contract: These allegations made by Plaintiffs are adequately pled and are not

               futile. While Plaintiffs concede that the implied covenant of good faith and

               fair dealing is based upon the same acts as the claim for breach of contract and

               is treated as one claim, Plaintiff maintains the breach of contract claim against

               Defendant Bragg Communities. See Thomas v. Bragg Cmtys., LLC, No. 5:22-cv-

               226-D, LEXIS 7277 (E.D.N.C January 17, 2023).

       (iii)   Similarly, conclusory negligence, gross negligence, and battery claims are all

               supported by precedent and would survive a motion to dismiss. See Thomas v.

               Bragg Cmtys., LLC, No. 5:22-cv-226-D, LEXIS 7277 (E.D.N.C January 17, 2023)

               (where this court denied motions to dismiss similar claims filed on behalf of Fort

               Bragg military families injured by Bragg Communities et al.).

       Next, Plaintffs’ claims, if allowed, in the Second Amended Complaint (“SAC”) do relate

back to the date of the original complaint. Pursuant to Fed. R. Civ. P. 15(c), for a matter to relate

back, the allegation must “arise out of the same occurrence set forth in the original pleading,

thereby ensuring the defendant knew of the action’s commencement and of its nature.” Piper, 615



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F.2d at 19. As stated above, Defendents here have known of the commencement and nature of this

action since the filing of the original complaint.

       Furthermore, this case is in its infancy and discovery has not yet occurred. Defendants’

argument that new allegations will cause expansion of discovery is misleading and could not cause

prejudice on Defendants. Examples of prejudice found by courts requiring denial of an amended

pleading include (1) defendant’s continued payment of wages for an additional year of delay for

trial or (2) an amended complaint seventy-eight pages longer than the original complaint and filed

over three years after defendant’s original motion to dismiss. See EEOC v. Peters' Bakery, No. 13-

cv-04507-BLF, 2016 LEXIS 45519, at 8-9 (N.D.C.A. April 4, 2016); See also Kerr v. Marshall

Univ. Bd. of Governors, No. 2:14-cv-12333, 2018 LEXIS 25577, at 16 (W.V.S.D. Feb. 16, 2018).

In this case, Plaintiffs’ SAC would not prejudice the defendants but instead simply states

alternative theories of recovery as in Forman and Laber. Kerr at 16.

       Defendants’ response relies on Lone Star Steakhouse & Saloon, Inc., where the movant

“waited until the closing days of discovery before filing its motion to amend.” Lone Star

Steakhouse & Saloon, Inc. v. Alpha of Va., Inc., 43 F.3d 922, 940 (4th Cir. 1995). Defendants also

rely on Deasy where the court found undue delay and prejudice when the plaintiff did not act to

amend the complaint until “just before trial.” Deasy v. Hill, 833 F.2d 38, 41 (4th Cir. 1987). Here,

there has been little to no discovery completed and a trial date is not set. Contrary to Defendants’

remarks in their response, the previous scheduling order was vacated on September 22, 2022

pursuant to an unopposed motion. Defendants do not have adequate grounds to claim prejudice or

undue delay in this matter.




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       Finally, there are compelling grounds to grant leave so that this matter can be resolved on

its merits. Laber, 438 at 426. For the reasons set forth herein, Plaintiffs respectfully request that

the Court grant them leave to file the proposed Second Amended Complaint.


       This the 14 th day of March, 2023.

                                      Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that this brief complies with the applicable word limit. [2355]

Dated: March 14, 2023.




                                             WARD BLACK LAW

                                              /s/ Audrey Snyder
                                              Audrey Snyder




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of March 2023, Plaintiffs’ Motion for Leave to File

Second Amended Complaint was served on all parties of record via the Court's ECF filing

system.


                                             WARD BLACK LAW

                                              /s/ Audrey Snyder
                                              Audrey Snyder




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